
933 A.2d 381 (2007)
401 Md. 495
ATTORNEY GRIEVANCE COMMISSION of Maryland, Petitioner,
v.
Monica M. TURNBO, Respondent.
Misc. Docket AG No. 36, Sept. Term, 2007.
Court of Appeals of Maryland.
October 4, 2007.

ORDER
Upon consideration of the Joint Petition for Disbarment by Consent filed herein pursuant to Maryland Rule 16-772, it is this 4th day of October, 2007,
ORDERED, by the Court of Appeals of Maryland, that Monica M. Turnbo be, and is hereby, disbarred by consent, effective immediately, from the further practice of law in the State of Maryland; and it is further,
ORDERED, that a judgment be entered in favor of the Petitioner in the amount of $387.00 for costs against the Respondent; it is further
ORDERED, that the Clerk of this Court shall strike the name of Monica M. Turnbo from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
